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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

United States of America,

              Plaintiff,

v.                                                        Crim. No. 08-156 (JNE/SRN)
                                                          ORDER
Michael Lavaughn Balance (1),
James Edwin Nielsen, Jr. (2), and
Jordan Mark O’Brien (3),

              Defendants.

       In a Report and Recommendation dated September 15, 2008, the Honorable Susan R.

Nelson, United States Magistrate Judge, recommended that Defendant Nielsen’s motions to

suppress, Defendant Balance’s motions for severance and to suppress, and Defendant O’Brien’s

motions to suppress be denied. Defendants objected to the recommendation. The Court has

conducted a de novo review of the record. See D. Minn. LR 72.2(b). Based on that review, the

Court adopts the Report and Recommendation. Therefore, IT IS ORDERED THAT:

       1.     Nielsen’s Motion to Suppress Statements [Doc. No. 34] is DENIED AS
              MOOT.

       2.     Nielsen’s Motion to Suppress Evidence Obtained as a Result of Illegal
              Searches [Docket No. 35] is DENIED.

       3.     Nielsen’s Motion to Suppress Any Identifications [Doc. No. 36] is
              DENIED AS MOOT.

       4.     Balance’s Motions for Severance of Counts and Defendants [Doc. Nos. 48
              and 71] are DENIED.

       5.     Balance’s Motion to Suppress Evidence Obtained as a Result of Search
              and Seizure [Doc. No. 49] is DENIED

       6.     Balance’s Motion to Suppress Confessions and Statements in the Nature
              of Confessions [Doc. No. 70] is DENIED.

       7.     O’Brien’s Motion to Suppress Search and Seizure of Evidence [Doc. No.
              65] is DENIED.


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       8.     O’Brien’s Motion to Suppress Confession or Statements in the Nature of
              Confessions [Doc. No. 66] is DENIED.

Dated: October 6, 2008

                                                         s/ Joan N. Ericksen
                                                         JOAN N. ERICKSEN
                                                         United States District Judge




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